                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA                      )
                                               )      Case No. 3:24-cr-00056
        v.                                     )
                                               )      JUDGE TRAUGER
 KORBEIN SCHULTZ                               )


                            PROPOSED PROTECTIVE ORDER

       The United States’ Motion for a Protective Order is GRANTED.

       It is hereby ORDERED that copies of all discovery materials in this case shall not be

provided to the defendant, or anyone associated with the defendant, other than members of the

defendant’s legal defense team, which includes experts hired by the defense. Defense Counsel may

provide individual discovery documents to their client if there’s a prior agreement with the

Government.

       Nothing in this Order, however, prevents defense counsel from reviewing any of these

materials with the defendant.



       IT IS SO ORDERED.

       _____________________                       ______________________________
       Date                                        ALETA A. TRAUGER
                                                   United States District Judge




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